                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


  UNITED STATES OF AMERICA                               )
                                                         )
  v.                                                     )            NO. 3:19-CR-15-1
                                                         )
  DERRICK REDWINE                                        )
                                                         )



                                                ORDER

         Magistrate Judge C. Clifford Shirley, Jr. filed a report and recommendation, recommending

  that the Court: (1) find that the plea hearing in this case could not be further delayed without serious

  harm to the interests of justice; (2) grant Defendant’s motion to withdraw his not guilty plea to

  Count One of the Indictment; (3) accept Defendant’s plea of guilty of the lesser included offense

  in Count One of the Indictment, that is, conspiracy to distribute and possession with intent to

  distribute 40 grams or more of a mixture and substance containing a detectable amount of fentanyl,

  a Schedule II controlled substance, and a quantity of a mixture and substance containing a

  detectable amount of heroin, a Schedule I controlled substance, in violation of 21 U.S.C. §§ 846,

  841(a)(1), and 841(b)(1)(C); (4) adjudicate Defendant guilty of the charge in the lesser including

  offense set forth in Count One of the Indictment; and (5) find that Defendant shall remain in

  custody until sentencing in this matter (Doc. 139.) Neither party filed a timely objection to the

  report and recommendation. After reviewing the record, the Court agrees with the magistrate

  judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

  magistrate judge’s report and recommendation (Doc. 139) pursuant to 28 U.S.C. § 636(b)(1) and

  ORDERS as follows:

                                                     1

Case 3:19-cr-00015-HSM-DCP Document 192 Filed 11/04/20 Page 1 of 2 PageID #: 681
         (1)     As set forth on the record, Defendant’s plea hearing could not be further delayed

  without serious harm to the interests of justice;

         (2)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

  is GRANTED;

         (3)     Defendant’s plea of guilty to the lesser included offense in Count One of the

  Indictment, that is, conspiracy to distribute and possession with intent to distribute 40 grams or

  more of a mixture and substance containing a detectable amount of fentanyl, a Schedule II

  controlled substance, and a quantity of a mixture and substance containing a detectable amount of

  heroin, a Schedule I controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

  841(b)(1)(C), is ACCEPTED;

         (4)     Defendant is hereby ADJUDGED guilty of the charge of the lesser included

  offense set forth in Count One of the Indictment, that is, conspiracy to distribute and possession

  with intent to distribute 40 grams or more of a mixture and substance containing a detectable

  amount of fentanyl, a Schedule II controlled substance, and a quantity of a mixture and substance

  containing a detectable amount of heroin, a Schedule I controlled substance, in violation of 21

  U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C);

         (5)     Defendant SHALL REMAIN in custody until sentencing in this matter, which is

  scheduled to take place on December 9, 2020 at 2:30 p.m. in Knoxville before the Honorable

  Harry S. Mattice, Senior United States District Judge.

         SO ORDERED.

                                                 /s/  Harry S. Mattice Jr. _________________
                                                 HARRY S. MATTICE, JR
                                                 SENIOR UNITED STATES DISTRICT JUDGE
                                                 November 4, 2020




                                                      2

Case 3:19-cr-00015-HSM-DCP Document 192 Filed 11/04/20 Page 2 of 2 PageID #: 682
